              Case 18-64547-sms                   Doc 1     Filed 08/30/18 Entered 08/30/18 14:24:21                               Desc Main
                                                            Document     Page 1 of 41

Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF GEORGIA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                T-Bird Enterprises, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  127 P. Rickman Industrial Drive                                 3404 Morgan Road
                                  Canton, GA 30115                                                Canton, GA 30115
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Cherokee                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    T-Bird Enterprises, LLC                                                                       Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                     Relationship
                                                  District                                 When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor   T-Bird Enterprises, LLC                                                                   Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    T-Bird Enterprises, LLC                                                                  Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      August 30, 2018
                                                  MM / DD / YYYY


                             X   /s/ Jake M. Hodgins, Sr.                                                 Jake M. Hodgins, Sr.
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Katherine J. Hill                                                     Date August 30, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Katherine J. Hill 218574
                                 Printed name

                                 Hicks Hill, LLC
                                 Firm name

                                 305 Lawrence Street
                                 Suite 200
                                 Marietta, GA 30060
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     770-428-1000                  Email address      sam.hicks@hickscasey.com

                                 218574 GA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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 Fill in this information to identify the case:

 Debtor name         T-Bird Enterprises, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          August 30, 2018                         X /s/ Jake M. Hodgins, Sr.
                                                                       Signature of individual signing on behalf of debtor

                                                                       Jake M. Hodgins, Sr.
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
             Case 18-64547-sms                                    Doc 1             Filed 08/30/18 Entered 08/30/18 14:24:21                                                           Desc Main
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 Fill in this information to identify the case:

 Debtor name            T-Bird Enterprises, LLC

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            44,441.34

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $            44,441.34


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $              1,881.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           361,896.79


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             363,777.79




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
            Case 18-64547-sms                         Doc 1          Filed 08/30/18 Entered 08/30/18 14:24:21                          Desc Main
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 Fill in this information to identify the case:

 Debtor name         T-Bird Enterprises, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     SunTrust Bank                                           Business Checking               8076                                             $0.00




           3.2.     SunTrust Bank                                           Business Checking               8076                                             $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                           $0.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
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 Debtor         T-Bird Enterprises, LLC                                                                 Case number (If known)
                Name


           11a. 90 days old or less:                                 29,441.34    -                                    0.00 = ....                 $29,441.34
                                              face amount                                 doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                                    $29,441.34
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last                Net book value of          Valuation method used   Current value of
                                                      physical inventory              debtor's interest          for current value       debtor's interest
                                                                                      (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           ????                                       12/31/2017                                      $0.00      Comparable sale                   $15,000.00



 23.       Total of Part 5.                                                                                                                    $15,000.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                         Valuation method                               Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 2
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 Debtor         T-Bird Enterprises, LLC                                                      Case number (If known)
                Name


        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                       page 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor          T-Bird Enterprises, LLC                                                                             Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                     $29,441.34

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                               $15,000.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                              $44,441.34          + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                  $44,441.34




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                 Best Case Bankruptcy
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 Fill in this information to identify the case:

 Debtor name         T-Bird Enterprises, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
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 Fill in this information to identify the case:

 Debtor name         T-Bird Enterprises, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $940.00         $940.00
           Georgia Department of Revenue                             Check all that apply.
           Sales and Use Tax                                            Contingent
           P. O.Box 105296                                              Unliquidated
           Atlanta, GA 30348                                            Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     ???
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $941.00         $941.00
           Georgia Department of Revenue                             Check all that apply.
           Sales and Use Tax                                            Contingent
           P. O.Box 105296                                              Unliquidated
           Atlanta, GA 30348                                            Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     ????
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 7
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 Debtor       T-Bird Enterprises, LLC                                                                         Case number (if known)
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $0.00    $0.00
           Internal Revenue Service                                  Check all that apply.
           Insolvency                                                   Contingent
           P.O. Box 7317                                                Unliquidated
           Philadelphia, PA 19101                                       Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Notice Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                Unknown
           Berkley Net                                                                 Contingent
           PO Box 535080                                                               Unliquidated
           Atlanta, GA 30353                                                           Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Commercial Debt
           Last 4 digits of account number      0758
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                Unknown
           CCWSA                                                                       Contingent
           PO Box 5000                                                                 Unliquidated
           Canton, GA 30115                                                            Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Commercial Debt
           Last 4 digits of account number      4556
                                                                                   Is the claim subject to offset?     No       Yes

 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.            $102,100.00
           Collins Millwork                                                            Contingent
           1 Johnson St                                                                Unliquidated
           Cartersville, GA 30120                                                      Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Commercial Debt
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.4       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $1,322.16
           Comcast Business                                                            Contingent
           PO Box 37601                                                                Unliquidated
           Philadelphia, PA 19101-0601                                                 Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Commercial Debt
           Last 4 digits of account number      4697
                                                                                   Is the claim subject to offset?     No       Yes

 3.5       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $668.00
           Delaney Inc.                                                                Contingent
           265 Castleberry Industrial Dr                                               Unliquidated
           Cumming, GA 30040                                                           Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Commercial Debt
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 2 of 7
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 Debtor       T-Bird Enterprises, LLC                                                                 Case number (if known)
              Name

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $118.72
          Doss Printing                                                         Contingent
          310 E. Marietta Street                                                Unliquidated
          Canton, GA 30114                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Commercial Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $121,564.72
          Dyke Industries                                                       Contingent
          6600 Best Freind Road                                                 Unliquidated
          Norcross, GA 30071                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Commercial Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $466.36
          Fireside Natural Gas                                                  Contingent
          PO Box 116268                                                         Unliquidated
          Atlanta, GA 30368                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Commerical Debt
          Last 4 digits of account number       0723
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $250.00
          Georgia Power                                                         Contingent
          BIN#10102                                                             Unliquidated
          241 Ralph McGill Blvd.                                                Disputed
          Atlanta, GA 30308-3374
                                                                             Basis for the claim:    Commercial Debt
          Date(s) debt was incurred
          Last 4 digits of account number       3089                         Is the claim subject to offset?     No       Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $523.00
          Joel Ebbersburger                                                     Contingent
          106 Elm Lane                                                          Unliquidated
          Ellijay, GA 30540                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Kabbage                                                               Contingent
          925 B Peachtree Street NE                                             Unliquidated
          SUite 1688                                                            Disputed
          Atlanta, GA 30309
                                                                             Basis for the claim:    Commercial Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,287.78
          Klumb Lumber                                                          Contingent
          11159 Bobby Williams Pkwy                                             Unliquidated
          Covington, GA 30014                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Commercial Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 3 of 7
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              Name

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,480.54
          LJ Smith/ Universal Stair Part                                        Contingent
          919 Old Nelson Road                                                   Unliquidated
          Nelson, GA 30151                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Commercial Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $491.00
          Luke Garcia                                                           Contingent
          119 Opal Court                                                        Unliquidated
          Canton, GA 30115                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,928.48
          Madison Holdings                                                      Contingent
          135 P. Rickman Ind. Drive                                             Unliquidated
          Canton, GA 30115                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Commercial Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Masterpro                                                             Contingent
          224 Brown Industrial Pkwy                                             Unliquidated
          Suite 101                                                             Disputed
          Canton, GA 30114
                                                                             Basis for the claim:    Commercial Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $26,529.93
          Metrie Inc.                                                           Contingent
          40 Hopson Dr SE                                                       Unliquidated
          Acworth, GA 30102                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Commerical Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $23,322.29
          Moss Supply                                                           Contingent
          5001 North Graham St.                                                 Unliquidated
          Charlotte, NC 28269                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Commercial Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $55.00
          Net Comp                                                              Contingent
          3800 Fenandina Road                                                   Unliquidated
          #210                                                                  Disputed
          Columbia, SC 29210
                                                                             Basis for the claim:    Commercial Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 4 of 7
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 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Patricia Osterhaut                                                    Contingent
          549 Coral Trace Blvd                                                  Unliquidated
          Edgewater, FL 32132                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Personal Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,754.66
          Plygem Windows                                                        Contingent
          5020 Westin Pkwy                                                      Unliquidated
          Suite 400                                                             Disputed
          Cary, NC 27513
                                                                             Basis for the claim:    Commercial Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,265.00
          Randall Brothers Incorporated                                         Contingent
          665 Marietta Street NW                                                Unliquidated
          Atlanta, GA 30313                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Commercial Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $834.00
          Russ Gambino                                                          Contingent
          201 Carrington Way                                                    Unliquidated
          Canton, GA 30115                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $299.45
          Santek Waste Services                                                 Contingent
          PO Box 180600                                                         Unliquidated
          College Grove, TN 37046                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Commercial Debt
          Last 4 digits of account number       7632
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $278.40
          Southern Trust Insurance                                              Contingent
          PO Box 250                                                            Unliquidated
          Macon, GA 31202                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Commercial Debt
          Last 4 digits of account number       2408
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $939.46
          T-Mobile                                                              Contingent
          P.O. Box 742596                                                       Unliquidated
          Cincinnati, OH 45274-2596                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Commerical Debt
          Last 4 digits of account number       0589
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 5 of 7
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 3.27      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $1,185.00
           Tim Brenner                                                          Contingent
           5087 Cumming Hwy                                                     Unliquidated
           Canton, GA 30115                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Account
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No    Yes

 3.28      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $23,013.14
           Tucker Doors                                                         Contingent
           650 Hwy 83                                                           Unliquidated
           Monroe, GA 30655                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Commercial Debt
           Last 4 digits of account number      T100
                                                                             Is the claim subject to offset?         No    Yes

 3.29      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $14,237.53
           US Lumber                                                            Contingent
           3312 North Berkley Lake Rd NW                                        Unliquidated
           Duluth, GA 30096                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Commerical Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No    Yes

 3.30      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $682.72
           Verizon Wireless                                                     Contingent
           P. O. Box 660108                                                     Unliquidated
           Dallas, TX 75266                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Commercial Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No    Yes

 3.31      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $299.45
           Waste Services of Georgia                                            Contingent
           North Atlanta                                                        Unliquidated
           PO Box 180600                                                        Disputed
           Chattanooga, TN 37406
                                                                             Basis for the claim:    Commercial Debt
           Date(s) debt was incurred
           Last 4 digits of account number      7632                         Is the claim subject to offset?         No    Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any
 4.1       IRS
           Centralized Insolvency Operati                                                             Line     2.3
           Post Office Box 7346
                                                                                                             Not listed. Explain
           Philadelphia, PA 19101

 4.2       Law Offices Of
           Ezra B. Jones, III                                                                         Line     3.7
           305 Crosstree Lane
                                                                                                             Not listed. Explain
           Atlanta, GA 30328


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 6 of 7
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                                                                                                                  Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.       $                      1,881.00
 5b. Total claims from Part 2                                                                       5b.   +   $                    361,896.79

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $                      363,777.79




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 7 of 7
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 Fill in this information to identify the case:

 Debtor name         T-Bird Enterprises, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.        State what the contract or                   Cell phone contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                10 Months
                                                                                     Verizon Wireless
             List the contract number of any                                         P.O. Box 105378
                   government contract                                               Atlanta, GA 30348




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         T-Bird Enterprises, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:

    2.1      Pat Sherwood                      549 Coral Trace Blvd                               Dyke Industries                   D
                                               Edgewater, FL 32132                                                                  E/F       3.7
                                                                                                                                    G




    2.2      T-Bird                            3404 Morgan Road                                   Dyke Industries                   D
             Enterprises, LLC                  Canton, GA 30115                                                                     E/F       3.7
                                                                                                                                    G




    2.3      T-Bird                            3404 Morgan Road                                   Southern Trust                    D
             Enterprises, LLC                  Canton, GA 30115                                   Insurance                         E/F       3.25
                                                                                                                                    G




    2.4      T-Bird                            3404 Morgan Road                                   Doss Printing                     D
             Enterprises, LLC                  Canton, GA 30115                                                                     E/F       3.6
                                                                                                                                    G




    2.5      T-Bird                            3404 Morgan Road                                   Georgia Power                     D
             Enterprises, LLC                  Canton, GA 30115                                                                     E/F       3.9
                                                                                                                                    G




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 3
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            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      T-Bird                            3404 Morgan Road                                   Madison Holdings          D
             Enterprises, LLC                  Canton, GA 30115                                                             E/F       3.15
                                                                                                                            G




    2.7      T-Bird                            3404 Morgan Road                                   Santek Waste              D
             Enterprises, LLC                  Canton, GA 30115                                   Services                  E/F       3.24
                                                                                                                            G




    2.8      T-Bird                            3404 Morgan Road                                   Moss Supply               D
             Enterprises, LLC                  Canton, GA 30115                                                             E/F       3.18
                                                                                                                            G




    2.9      T-Bird                            3404 Morgan Road                                   Plygem Windows            D
             Enterprises, LLC                  Canton, GA 30115                                                             E/F       3.21
                                                                                                                            G




    2.10     T-Bird                            3404 Morgan Road                                   Collins Millwork          D
             Enterprises, LLC                  Canton, GA 30115                                                             E/F       3.3
                                                                                                                            G




    2.11     T-Bird                            3404 Morgan Road                                   Tucker Doors              D
             Enterprises, LLC                  Canton, GA 30115                                                             E/F       3.28
                                                                                                                            G




    2.12     T-Bird                            3404 Morgan Road                                   Delaney Inc.              D
             Enterprises, LLC                  Canton, GA 30115                                                             E/F       3.5
                                                                                                                            G




    2.13     T-Bird                            3404 Morgan Road                                   Metrie Inc.               D
             Enterprises, LLC                  Canton, GA 30115                                                             E/F       3.17
                                                                                                                            G




Official Form 206H                                                            Schedule H: Your Codebtors                              Page 2 of 3
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            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.14     T-Bird                            3404 Morgan Road                                   LJ Smith/ Universal       D
             Enterprises, LLC                  Canton, GA 30115                                   Stair Part                E/F       3.13
                                                                                                                            G




    2.15     T-Bird                            3404 Morgan Road                                   CCWSA                     D
             Enterprises, LLC                  Canton, GA 30115                                                             E/F       3.2
                                                                                                                            G




    2.16     T-Bird                            3404 Morgan Road                                   T-Mobile                  D
             Enterprises, LLC                  Canton, GA 30115                                                             E/F       3.26
                                                                                                                            G




    2.17     T-Bird                            3404 Morgan Road                                   Verizon Wireless          D
             Enterprises, LLC                  Canton, GA 30115                                                             E/F       3.30
                                                                                                                            G




    2.18     T-Bird                            3404 Morgan Road                                   Comcast Business          D
             Enterprises, LLC                  Canton, GA 30115                                                             E/F       3.4
                                                                                                                            G




Official Form 206H                                                            Schedule H: Your Codebtors                              Page 3 of 3
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 Fill in this information to identify the case:

 Debtor name         T-Bird Enterprises, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                 04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                  Gross revenue
       which may be a calendar year                                                            Check all that apply                (before deductions and
                                                                                                                                   exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                  $0.00
       From 1/01/2018 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                                  $0.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other


       For year before that:                                                                       Operating a business                                  $0.00
       From 1/01/2016 to 12/31/2016
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue   Gross revenue from
                                                                                                                                   each source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

       From the beginning of the fiscal year to filing date:
       From 1/01/2018 to Filing Date                                                           ?????                                                     $0.00


       For prior year:
       From 1/01/2017 to 12/31/2017                                                            Loan                                             $60,000.00


       For year before that:
       From 1/01/2016 to 12/31/2016                                                            Loan                                             $30,000.00


 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 1
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 Debtor       T-Bird Enterprises, LLC                                                                   Case number (if known)




3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                            Dates              Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               Kabbage Leaf                                                   March                           $3,285.90               Secured debt
                                                                              $1095.34                                                Unsecured loan repayments
                                                                              April
                                                                                                                                      Suppliers or vendors
                                                                              $1095.30
                                                                                                                                      Services
                                                                              May
                                                                              $1095.30                                                Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                             Dates              Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                    Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                   Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                 Status of case
               Case number                                                                  address
       7.1.    Dyke Industries, Inc.                             Civil Suit                 State Court of Cherokee                        Pending
               Vs                                                                           County                                         On appeal
               T-Bird Enterprises, LLC
                                                                                                                                           Concluded
               18SC-0178-AJ




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 2
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 Debtor        T-Bird Enterprises, LLC                                                                      Case number (if known)



                Case title                                       Nature of case               Court or agency's name and               Status of case
                Case number                                                                   address
       7.2.     Madison Holdings, LLC                            Civil Suit                   Magisrtrate Court of                        Pending
                Vs                                                                            Cherokee County                             On appeal
                T-Bird Enterprises, LLC
                                                                                                                                          Concluded
                18MCE1066

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

                Recipient's name and address                     Description of the gifts or contributions                  Dates given                             Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss             Value of property
       how the loss occurred                                                                                                                                       lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates                    Total amount or
                 the transfer?                                                                                                                                   value
                 Address
       11.1.     Hicks Hill, LLC
                 305 Lawrence Street
                 Suite 210
                 Marietta, GA 30060                                  Attorney's Fee and Filing Fee                             6/2018                         $3,835.00

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 3
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 Debtor      T-Bird Enterprises, LLC                                                                     Case number (if known)




           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4
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18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was           Last balance
              Address                                            account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                        Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                      Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                   Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

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            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Linda Blackwell                                                                                                            6/2016-2/2018


       26a.2.       Jake Hodgins                                                                                                               2016-Current



    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 6
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               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Jake Matthew Hodgins                                                                               President                             100




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




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 Debtor      T-Bird Enterprises, LLC                                                                    Case number (if known)



 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         August 30, 2018

 /s/ Jake M. Hodgins, Sr.                                                Jake M. Hodgins, Sr.
 Signature of individual signing on behalf of the debtor                 Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                         page 8
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 Fill in this information to identify your case:

 Debtor 1                   Jake M. Hodgins, Sr.
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  NORTHERN DISTRICT OF GEORGIA

 Case number
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $                      0.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              44,441.34

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $              44,441.34

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $                      0.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                1,881.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             361,896.79


                                                                                                                                     Your total liabilities $               363,777.79


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                      N/A

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                      N/A

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                the court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
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 Debtor 1      T-Bird Enterprises, LLC                                                    Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              1,881.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                  0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                  0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 1,881.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                        page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                    Jake M. Hodgins, Sr.
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF GEORGIA

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Jake M. Hodgins, Sr.                                                  X
              Jake M. Hodgins, Sr.                                                      Signature of Debtor 2
              Signature of Debtor 1

              Date       August 30, 2018                                                Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                      Northern District of Georgia
 In re       T-Bird Enterprises, LLC                                                                          Case No.
                                                                                  Debtor(s)                   Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     3,500.00
             Prior to the filing of this statement I have received                                        $                     3,500.00
             Balance Due                                                                                  $                         0.00

2.     $    335.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     August 30, 2018                                                              /s/ Katherine J. Hill
     Date                                                                         Katherine J. Hill 218574
                                                                                  Signature of Attorney
                                                                                  Hicks Hill, LLC
                                                                                  305 Lawrence Street
                                                                                  Suite 200
                                                                                  Marietta, GA 30060
                                                                                  770-428-1000 Fax: 770-428-4684
                                                                                  sam.hicks@hickscasey.com
                                                                                  Name of law firm




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                                                               United States Bankruptcy Court
                                                                      Northern District of Georgia
 In re      T-Bird Enterprises, LLC                                                                       Case No.
                                                                                    Debtor(s)             Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       August 30, 2018                                             /s/ Jake M. Hodgins, Sr.
                                                                         Jake M. Hodgins, Sr./President
                                                                         Signer/Title




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                        Berkley Net
                        PO Box 535080
                        Atlanta, GA 30353



                        CCWSA
                        PO Box 5000
                        Canton, GA 30115



                        Collins Millwork
                        1 Johnson St
                        Cartersville, GA 30120



                        Comcast Business
                        PO Box 37601
                        Philadelphia, PA 19101-0601



                        Delaney Inc.
                        265 Castleberry Industrial Dr
                        Cumming, GA 30040



                        Doss Printing
                        310 E. Marietta Street
                        Canton, GA 30114



                        Dyke Industries
                        6600 Best Freind Road
                        Norcross, GA 30071



                        Fireside Natural Gas
                        PO Box 116268
                        Atlanta, GA 30368



                        Georgia Department of Revenue
                        Sales and Use Tax
                        P. O.Box 105296
                        Atlanta, GA 30348
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                    Georgia Power
                    BIN#10102
                    241 Ralph McGill Blvd.
                    Atlanta, GA 30308-3374



                    Internal Revenue Service
                    Insolvency
                    P.O. Box 7317
                    Philadelphia, PA 19101



                    IRS
                    Centralized Insolvency Operati
                    Post Office Box 7346
                    Philadelphia, PA 19101



                    Joel Ebbersburger
                    106 Elm Lane
                    Ellijay, GA 30540



                    Kabbage
                    925 B Peachtree Street NE
                    SUite 1688
                    Atlanta, GA 30309



                    Klumb Lumber
                    11159 Bobby Williams Pkwy
                    Covington, GA 30014



                    Law Offices Of
                    Ezra B. Jones, III
                    305 Crosstree Lane
                    Atlanta, GA 30328



                    LJ Smith/ Universal Stair Part
                    919 Old Nelson Road
                    Nelson, GA 30151
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                    Luke Garcia
                    119 Opal Court
                    Canton, GA 30115



                    Madison Holdings
                    135 P. Rickman Ind. Drive
                    Canton, GA 30115



                    Masterpro
                    224 Brown Industrial Pkwy
                    Suite 101
                    Canton, GA 30114



                    Metrie Inc.
                    40 Hopson Dr SE
                    Acworth, GA 30102



                    Moss Supply
                    5001 North Graham St.
                    Charlotte, NC 28269



                    Net Comp
                    3800 Fenandina Road
                    #210
                    Columbia, SC 29210



                    Pat Sherwood
                    549 Coral Trace Blvd
                    Edgewater, FL 32132



                    Patricia Osterhaut
                    549 Coral Trace Blvd
                    Edgewater, FL 32132



                    Plygem Windows
                    5020 Westin Pkwy
                    Suite 400
                    Cary, NC 27513
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                    Randall Brothers Incorporated
                    665 Marietta Street NW
                    Atlanta, GA 30313



                    Russ Gambino
                    201 Carrington Way
                    Canton, GA 30115



                    Santek Waste Services
                    PO Box 180600
                    College Grove, TN 37046



                    Southern Trust Insurance
                    PO Box 250
                    Macon, GA 31202



                    T-Bird Enterprises, LLC
                    3404 Morgan Road
                    Canton, GA 30115



                    T-Mobile
                    P.O. Box 742596
                    Cincinnati, OH 45274-2596



                    Tim Brenner
                    5087 Cumming Hwy
                    Canton, GA 30115



                    Tucker Doors
                    650 Hwy 83
                    Monroe, GA 30655



                    US Lumber
                    3312 North Berkley Lake Rd NW
                    Duluth, GA 30096
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                    Verizon Wireless
                    P. O. Box 660108
                    Dallas, TX 75266



                    Verizon Wireless
                    P.O. Box 105378
                    Atlanta, GA 30348



                    Waste Services of Georgia
                    North Atlanta
                    PO Box 180600
                    Chattanooga, TN 37406
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                                                               United States Bankruptcy Court
                                                                      Northern District of Georgia
 In re      T-Bird Enterprises, LLC                                                                          Case No.
                                                                                    Debtor(s)                Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for T-Bird Enterprises, LLC in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 August 30, 2018                                                       /s/ Katherine J. Hill
 Date                                                                  Katherine J. Hill 218574
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for T-Bird Enterprises, LLC
                                                                       Hicks Hill, LLC
                                                                       305 Lawrence Street
                                                                       Suite 200
                                                                       Marietta, GA 30060
                                                                       770-428-1000 Fax:770-428-4684
                                                                       sam.hicks@hickscasey.com




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